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 2   Nevada State Bar No. 11479
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 3   Assistant Federal Public Defender
     Nevada State Bar No. 14655C
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 6   Katherine_Tanaka@fd.org

 7   Attorney for Adam Nicholas Schpakow

 8
                                 UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:19-mj-00462-EJY

12                  Plaintiff,                               STIPULATION TO CONTINUE
                                                              STATUS CHECK HEARING
13          v.
                                                                    (First Request)
14   ADAM NICHOLAS SCHPAKOW,

15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
18   Trutanich, United States Attorney, and Rachel Kent, Special Assistant United States Attorney,
19   counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
20   and Katherine A. Tanaka, Assistant Federal Public Defender, counsel for Adam Nicholas
21   Schpakow, that the Status Check Hearing currently scheduled on September 29, 2020 at
22   1:30 pm, be vacated and continued to a date and time convenient to the Court, but no sooner
23   than sixty (60) days.
24          This Stipulation is entered into for the following reasons:
25          1.      Defense counsel requests additional time for defendant to complete all court
26   ordered conditions.
          Case 2:19-mj-00462-EJY Document 19 Filed 09/29/20 Page 2 of 3




 1         2.     The defendant is not in custody and agrees with the need for the continuance.
 2         3.     The parties agree to the continuance.
 3         This is the first request for a continuance of the status check hearing.
 4         DATED this 28th day of September, 2020.
 5
 6   RENE L. VALLADARES                              NICHOLAS A. TRUTANICH
     Federal Public Defender                         United States Attorney
 7
 8   By /s/ Katherine A. Tanaka                      By /s/ Rachel Kent
     KATHERINE A. TANAKA                             RACHEL KENT
 9   Assistant Federal Public Defender               Special Assistant United States Attorney
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           Case 2:19-mj-00462-EJY Document 19 Filed 09/29/20 Page 3 of 3




 1                              UNITED STATES DISTRICT COURT

 2                                  DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                        Case No. 2:19-mj-00462-EJY
 4
                   Plaintiff,                         ORDER
 5
            v.
 6
     ADAM NICHOLAS SCHPAKOW,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the status check hearing currently scheduled for

11   Tuesday, September 29, 2020 at 1:30 p.m., be vacated and continued to November 23, 2020 at

12   the hour of 2:30 p.m. in Courtroom 3C.

13          DATED this 29th day of September, 2020.

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                                               UNITED STATES MAGISTRATE JUDGE
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